
Green, J.
delivered the opinion of the court.
The bill alleges that the negroes in question are the property of complainant, having been purchased by him when they were sold to satisfy several executions in his favor against John L. Young. The bill further states that the negroes were left in the possession of Young, having been hired to him for ten dollars per year; that they remained in his possession several years, and were then hired by complainant to Daniel Young; that the defendant had obtained a judgment against John L. Young, and had caused the execution to be levied on the negroes as the property of said Young; and to enjoin the sale under said execution this bill is brought. The defendants resist the prayer of the bill, alleging in the answer a fraud in the sale and purchase of said negroes by the complainant. Evidence upon the question of fraud has been taken on both sides, but the court forbear the expression of the opinion it may entertain upon this evidence, further than may be necessary in order to a disposition of the cause.
This court decided in the case of Loftin against Espy and Thomas, at Jackson, (4 Yerg. Rep.) that it would not entertain a bill of this kind, unless the complainant should show in himself a clear title to the negroes, above the suspicion of having been obtained by fraud; otherwise that *26it would leave the party to his remedy at law. The court is still of opinion that this is the correct rule. Acting upon it, the decree must be reversed and the bill dismissed with costs, as the evidence does not make out such a case. Decree reversed.
